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    MILLER, MEYERSON & CORBO
    955 West Side Avenue
    Jersey City, New Jersey 07302
    (201) 333-9000 Fax (201) 333-09
                                    18
    Our File No.: 32444

    UNITED STATES OF AMERICA                          UNITED STATE DISTRICT CO
                                                                                  URT
                                                      DISTRICT OF NEW JERSEY
                                                      CRIMINAL NO.: 09-50 1 (SRC)
    vs.                                              RIMINAL NO.: 09-863 (SRC)

    MARK VENTRJCBLU
                                                              ORDER

                     Defendant


            This matter being opened to the Cou
                                                rt by   Miller, Meyerson & Corbo, Esqs.,
                                                                                               attorney for
   defendant, Mark Ventricelli, (Gerald I).
                                              Miller, Esq, appearing), in the pre
                                                                                  sence of the United
  States Attorney for the District of New
                                             Jersey, (Assistant United States Att
                                                                                    orney Leslie Faye
  Schwartz, appearing) for an Order mo
                                          difying the terms of the previous “Or
                                                                                    der Setting Conditions
  of Release” dated November 20, 2009
                                           ; specifically by changing the defendant’s
                                                                                         classification of
  “Home Confinement” and amending it
                                           to one of “Home Detention” so as to
                                                                                     allow for this
 defendant to be employed in a manner app
                                          rov     ed by the pretrial services office or sup
                                                                                              ervising
 officer, and the United States Attorney hav
                                             ing   m objections and good cause being
                                                                                             shown:
          It is on this          day of SepteMber, 2010
          ORDERED that the November 20, 2009 “Or
                                                        der Setting Conditions of Release” be
 modified to reflect a change in defendant
                                              Mark Ventricelli’s requirement of”Hon
                                                                                   ie
Incarceration” and amending it to a design
                                              ation of “Home Detention” for said defend
                                                                                       ant; and
          IT IS FURTHER ORDERED that the new
                                                     ly imposed “Home Detention” design
                                                                                               ation
shall require defendant, Mark Ventricelli to be
                                                  restricted to his residence at all times
                                                                                             except for
employment; education; religious services; med
                                                   ical; substance abuse; or mental health trea
                                                                                                  tment;
attorney visits; court appearances; court-orde
                                               red obligations; or other activities as prc-ap
                                                                                                proved
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   by the pretrial services office
                                     or supervising officer; and
          IT IS FURTHER ORDERE
                                          D that all other terms of rel
                                                                        ease imposed in connectio
   Criminal Nos.: 09-501 and 09                                                                  n with
                                     -863 shall remain in full for
                                                                   ce and effect.


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                                                    -
                                                                     _

                                                   Flonomble Stanley R. Ch
                                                                            esler
                                                   United States District Court
                                                                                Judge


 I hereby consent to the form
                              and entry
 of the within Order:




Barbara I4utchinson
Pre-Trial Services
